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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

AMYRIS, INC., et al.,                                                  Case No. 23-11131 (TMH)

                                    Debtors.1                          (Jointly Administered)

                                                          Objections Due: November 15, 2023 at 4:00 P.M. (ET)
                                                                    Hearing Date: To be scheduled if necessary

           AMENDED NOTICE OF FIRST MONTHLY FEE APPLICATION FOR
        COMPENSATION AND REIMBURSEMENT OF EXPENSES OF PACHULSKI
     STANG ZIEHL & JONES LLP, AS COUNSEL FOR THE DEBTORS AND DEBTORS IN
    POSSESSION, FOR THE PERIOD FROM AUGUST 9, 2023 THROUGH AUGUST 31, 2023

         PLEASE TAKE NOTICE that on November 1, 2023, Pachulski Stang Ziehl & Jones

LLP, counsel for the above-captioned debtors and debtors in possession (the “Debtors”), filed its

First Monthly Application for Compensation and Reimbursement of Expenses of Pachulski Stang

Ziehl & Jones LLP, as Counsel for the Debtors and Debtors in Possession for the Period of August

1, 2023 through August 31, 2023 (the “Application”), seeking compensation for the reasonable

and necessary services rendered to the Debtors in the amount of $1,275,515.75 and reimbursement

for actual and necessary expenses in the amount of $10,533.41. A copy of the Application was

previously served on you.

         PLEASE TAKE FURTHER NOTICE that any response or objection to the Application,

if any, must be made in writing and filed with the United States Bankruptcy Court for the District

of Delaware, 824 North Market Street, 3rd Floor, Wilmington, Delaware 19801 (the “Court”) on

or before November 15, 2023 at 4:00 p.m. Eastern Time.



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     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
     proposed claims and noticing agent at https://cases.stretto.com/Amyris. The location of Debtor Amyris Inc.’s
     principal place of business and the Debtors’ service address in these chapter 11 cases is 5885 Hollis Street,
     Suite 100, Emeryville, CA 94608.



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          The Application is submitted pursuant to the Order Establishing Procedures for Interim

Compensation and Reimbursement of Professionals, entered on September 14, 2023 [Docket No.

279] (the “Administrative Order”).

          PLEASE TAKE FURTHER NOTICE that at the same time, you must also serve a copy

of the response or objection upon: (i) the Debtor: Amyris, Inc., 5885 Hollis Street, Suite 100,

Emeryville, CA 94608 (ii) counsel to the Debtors, Pachulski Stang Ziehl & Jones LLP, 919 North

Market Street, 17th Floor, Wilmington, DE 19899, Attn: James E. O’Neill (joneill@pszjlaw.com)

and Jason H. Rosell (jrosell@pszjlaw.com); (iii) the Office of the United States Trustee for the

District of Delaware, 844 King Street, Suite 2207, Wilmington, DE 19801, Attn: John Schanne

(john.schanne@usdoj.gov); (iv) counsel to the Official Committee of Unsecured Creditors, White

& Case LLP, Attn: John Ramirez (john.ramirez@whitecase.com) and Stephen E. Ludovici

(stephen.ludovici@whitecase.com); (v) counsel for the DIP Agent, DIP Lender, and Prepetition

Agent, (a) Troutman Pepper Hamilton Sanders LLP, Hercules Plaza, Suite 5100, 1313 N. Market

Street,     P.O.      Box       1709,   Wilmington,   DE    19899,   Attn:     David   M.        Fournier

(david.fournier@troutman.com) and Kenneth A. Listwak (ken.listwak@troutman.com), and (b)

Goodwin Procter LLP, The New York Times Building, 620 Eighth Avenue, New York, NY 10018,

Attn:     Michael        H.     Goldstein   (mgoldstein@goodwinlaw.com),       Alexander    J.     Nicas

(anicas@goodwinlaw.com), Artem Skorostensky (askorostensky@goodwinlaw.com), and Sari

Rosenfeld (srosenfeld@goodwinlaw.com); and (vi) any party that has requested notice pursuant

to Bankruptcy Rule 2002.

          PLEASE TAKE FURTHER NOTICE THAT IF NO OBJECTIONS ARE FILED AND

SERVED IN ACCORDANCE WITH THE ABOVE PROCEDURES, THEN 80% OF FEES AND

100% OF EXPENSES REQUESTED IN THE APPLICATION MAY BE PAID PURSUANT TO




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THE ADMINISTRATIVE ORDER WITHOUT FURTHER HEARING OR ORDER OF THE

COURT.

         IF A TIMELY OBJECTION IS FILED AND SERVED, A HEARING ON THE

APPLICATION WILL BE HELD AT A DATE AND TIME TO BE DETERMINED.

 Dated: November 13, 2023                   PACHULSKI STANG ZIEHL & JONES LLP

                                            /s/ James E. O’Neill
                                            Richard M. Pachulski (admitted pro hac vice)
                                            Debra I. Grassgreen (admitted pro hac vice)
                                            James E. O’Neill (DE Bar No. 4042)
                                            Jason H. Rosell (admitted pro hac vice)
                                            Steven W. Golden (DE Bar No. 6807)
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                                                    sgolden@pszjlaw.com

                                            Counsel to the Debtors and Debtors in Possession




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